                Case 1:05-cr-00031-OWW Document 27 Filed 06/02/05 Page 1 of 2


1    QUIN DENVIR, Bar #49374
     Federal Defender
2    Melody M. Walcott, Bar #219930
     Assistant Federal Defender
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     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    EDWINA LOUISE JACKSON
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )               NO. 1:05-cr-0031 REC
                                           )
12                     Plaintiff,          )               STIPULATION TO VACATE STATUS
                                           )               CONFERENCE HEARING; AND SET
13         v.                              )               CHANGE OF PLEA HEARING; AND
                                           )               PROPOSED ORDER THEREON
14   ERMA KENDRICK, and EDWINA LOUISE )
     JACKSON,                              )               Date: June 6, 2005
15                                         )               Time: 9:00 a.m.
                       Defendants.         )               Judge: Hon. Oliver W. Wanger
16                                         )
     _____________________________________ )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto, and through their respective
19   counsel of record herein, that the Status Conference Hearing, currently set for May 31, 2005, is hereby
20   vacated;
21          IT IS FURTHER STIPULATED by and between the parties hereto, and through their respective
22   counsel of record herein, that defendants Erma Kendrick and Edwina Louise Jackson wish to proceed with
23   a Change of Plea hearing on June 6, 2005 at 9:00 a.m.
24          The parties agree that the delay resulting from the continuance shall be excluded in the interests of
25   justice, including, but not limited to, the need for the period of time set forth herein for effective defense
26   ///
27   ///
28   ///
               Case 1:05-cr-00031-OWW Document 27 Filed 06/02/05 Page 2 of 2


1    preparation, pursuant to 18 U.S.C. §3161(h)(8)(A).
2            DATED: May 26, 2005                                   McGREGOR W. SCOTT
                                                                   United States Attorney
3
4
                                                                   By /s/ Sheila K. Oberto
5                                                                    SHEILA K. OBERTO
                                                                     Assistant U.S. Attorney
6                                                                    Attorney for Plaintiff
7            DATED: May 26, 2005                                   LAW OFFICE OF GREGORY HENDRICK MITTS
8
9                                                                  By /s/ Gregory Hendrick Mitts
                                                                     GREGORY HENDRICK MITTS
10                                                                   Attorney for Defendant
                                                                     ERMA KENDRICK
11
12           DATED: May 26, 2005                                   QUIN DENVIR
                                                                   Federal Defender
13
14
                                                                  By /s/ Melody M. Walcott
15                                                                   MELODY M. WALCOTT
                                                                     Assistant Federal Defender
16                                                                   Attorney for Defendant
17                                                                ORDER
18           IT IS SO ORDERED. Time is excluded in the interests of justice, pursuant to 18 U.S.C. §
19   3161(h)(8)(A).
20           DATED:_______May 27, 2005_____________
21
22                                                                        __/s/ OLIVER W. WANGER
                                                                          The Hon.OLIVER W. WANGER
23                                                                        Sr. U.S. District Court Judge for the
                                                                          Eastern District of California
24
25
26
27
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     Stipulation to Vacate S/C H earing; Set Change of Plea Hrg     2
